                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case Nos. 1:13-cr-49-CLC-SKL
 v.                                                    )       1:14-cr-118
                                                       )
 TERRY TATE                                            )

                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw her not guilty plea to Count Two of the eight-count

 Superseding Indictment in case number 1:13-cr-49 and Count Two of the Indictment in case 1:14-cr-

 118; (2) accept Defendant’s plea of guilty to Count Two of the Superseding Indictment in case 1:13-

 cr-49 and Count Two of the Indictment in case 1:14-cr-118; (3) adjudicate Defendant guilty of the

 charges set forth in Count Two of the Superseding Indictment in case 1:13-cr-49 and Count Two of

 the Indictment in case 1:14-cr-118; (4) defer a decision on whether to accept the plea agreement

 until sentencing; and (5) Defendant has been released on bond under appropriate conditions of

 release pending sentencing in this matter (Court File No. 131). Neither party filed a timely objection

 to the report and recommendation. After reviewing the record, the Court agrees with the magistrate

 judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s report and recommendation (Court File No. 131) pursuant to 28 U.S.C. §

 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count Two of the Superseding

                Indictment in case 1:13-cr-49 and Count Two of the Indictment in case 1:14-cr-118

                is GRANTED;

        (2)     Defendant’s plea of guilty to Count Two of the Superseding Indictment in case 1:13-




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             cr-49 and Count Two of the Indictment in case 1:14-cr-118 of the Indictment is

             ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the charges set forth in Count Two of

             the Superseding Indictment in case 1:13-cr-49 and Count Two of the Indictment in

             case 1:14-cr-118;

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN on bond under appropriate conditions of release

             pending sentencing in this matter which is scheduled to take place on June 11, 2015,

             at 9:00 a.m. [EASTERN] before the Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:

                                           /s/
                                           CURTIS L. COLLIER
                                           UNITED STATES DISTRICT JUDGE




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